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IN THE UNITED STATES DISTRICT COURT
FGR THE l\/llDDLE DISTRICT OF FLORIDA
TAl\/IPA DlVlSlON
JASON GAZA, Case No.: 8215-cv-02068-Vl\/IC~JSS
Plaintiff,

V.

Srl`. JOSEPH’S HOSPITAL, lNC.
d/b/a ST. JOSEPHH’S W()MEN’S
HOSPlT/»\L,

Det"endants.
/

 

DEFENDANT, ST. JOSEPH’S H()SPITAL, INC. d/b/a ST. JOSEPH’S WOMEN’S
HOSPITAL’S THIRD M()TION T 0 DISMISS WITH PREJUDICE

T 1 w v~ 11

Defendant, ST. JGSEPH’S FIGSPITAL, lNC. d/b/a ST. JGSEPHS

’Gl‘\/"`l Y’S
'HGSPITAL (“St. Joseph’s”), by and through its undersigned counsel, hereby files this Third
l\/lotion to Dismiss With Prejudice, and states:

l. On September 8j 20l5, Plaintiff filed his Cornplaint, initiating this lawsuit for
alleged Violations of the Telephone Consumer Protection Act (“TCPA”) and the Fiorida
Consumer Collection Practices Act (“FCCPA”). [See ECF No. l].

2. Subsequently, on September 3(), 2015, St. Joseph’s moved to dismiss the
Complaint on the ground that the Complaint Was a shotgun pleading and failed to state a cause of
action under the TCPA or the FCCPA. [ECF No. 7].

3. On November 24, 2015, the Court entered an Order granting St Joseph’s l\/lotion
to Dismiss on the ground that the Complaint failed to state a cause of action for violation of the

TCPA and failed to satisfy the basic pleading requirements [ECF No. 15]. The Court further

ordered that Plaintift` “may tile an amended complaint on or before December 2, ZOl 5.” [Ia’.].

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4. On December 4, 2015, after the expiration of the Court’s December 2, 20l5
deadline, Plaintiff filed his l\/Iotion for Extension of Time to File Amended Complaint. [ECF
No. lS].

5. St. Joseph’s opposed the l\/iotion for EXtension of T ime as untimely and moved to
dismiss this action with prejudice for the PlaintifF s failure to comply with the Court’s November
24“‘ ord@r. teer NO. 201

6. The Court granted Plaintift’s l\/lotion for Extension of Time in part and ordered
that “Plaintiff may file an amended complaint on or before Decernber l(), 2015.” [ECF No. ZI].

7. The Plaintiff again failed to file his Amended Complaint or timely file a Motion
for EXtension of T ime before the expiration of the December lOth Court ordered deadline

S. Cri December li, ZGlS, St. joseph’s renewed its l\/iotion to Eismiss with
Prejudice for the Plaintiff” s continuing failure to comply with this Court’s Orders and deadlines
[ECF No. 24.]

9. ln response to the Defendant’s renewed Motion to Dismiss, the Plaintiff filed a
Nc)tz`ce OfPrepared Amenclecl Complaz'ht seeking additional leave to file his Amended Cornplaint.
[ECF No. 26].

iG. ”i`he Court again granted Plaintiff leave to fiie his Amended Complaint ordering:
“Although Defendant’s l\/[otion to Dismiss is well taken, the Court will nevertheless allow
Plaintiff to file his Amended Complaint no later than December 14, 2015, by lO:OOAl\/l. The
Court takes this opportunity to advise Plaintiff thatfurther failure to comply with this Court's
()rclers may result in sanctions or dismissal of this action. Accordingly, Defendant's l\/lotion to

Dismiss is denied.” [ECF No, 27]. (Emphasis added).

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ll. For the third time this month, the Plaintiff has failed to comply with this Court’s
Grder, has failed to file a timely Amended Complaint, and has failed to file a timely motion for
an extension of time pursuant to Rule 6(b) of the Federal Rules of Civil Procedure.

12. This action should be dismissed with prejudice for the Plaintiff` s repeated non-
compliance with this Court’s Grders. §e_e Thomas v. Brooksville Police Dep’t., No. 8:()7-cv-
Zl%~T-Zél TBl.\/l, 2008 WL 398948 (l\/I.D. Fla. Feb. iZ, ZOOS:) (dismissing Complaint with
prejudice for Plaintift"s failure to tile Amended Complaint the day after the expiration of the
Court ordered deadline).

Wl::lEREF()RE, l)efendant, ST. JOSEPH’S HOSPITAL, INC. d/b/a ST, JOSEPH’S
WOMEN’S HOSPITAL, respectfully requests this honorable Court to enter an Order dismissing
this case with per udice.

Respectfully submitted this 14th day of December, 2015.

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
electronic mail via the Cl\/[/ECF filing system of the Middle District Court of Florida, Tarnpa
Division to W. John Gadd, Attorney for Plaintiff, John Gaza at wjg@mazgadd.com on this llth
day ofDecember, ZOl 5.

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